










Opinion issued April 27, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00125–CV




LACY BROWN, Appellant

V.

L. INNMAN, Appellee




On Appeal from the 12th District Court
Walker County, Texas
Trial Court Cause No. 22,316




MEMORANDUM OPINIONAppellant Lacy Brown has neither established indigence, nor paid or made
arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk’s record filed due to appellant’s fault).  After being notified that
this appeal was subject to dismissal, appellant Lacy Brown did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Bland.


